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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. ______________________

  STUDENTS FOR FAIR ADMISSIONS,

          Plaintiff,

  v.

  THE UNITED STATES AIR FORCE ACADEMY,
  THE UNITED STATES DEPARTMENT OF DEFENSE,
  LLOYD AUSTIN, in his official capacity as Secretary of Defense,
  FRANK KENDALL III, in his official capacity as Secretary of the Air Force,
  LIEUTENANT GENERAL TONY D. BAUERNFEIND, in his official capacity as
  Superintendent of the United States Air Force Academy, and
  COLONEL CANDACE PIPES, in her official capacity as Director of Admissions for the United
  States Air Force Academy,

          Defendants.


                                               COMPLAINT



          Plaintiff, Students for Fair Admissions, brings this civil action for declaratory and injunctive

  relief against Defendants and alleges as follows:

                                            INTRODUCTION
          1.       The United States Air Force Academy is one of the American military’s premier insti-

  tutions and the most prestigious source of commissioned officers in the Air Force. It is also one of

  the last remaining universities to expressly consider race as a factor in admissions.

          2.       The Academy has no justification for using race-based admissions. Its policy would be

  unconstitutional at all other public institutions of higher education. Students for Fair Admissions, Inc. v.

  President & Fellows of Harvard Coll., 600 U.S. 181 (2023). The Academy is not exempt from the Consti-

  tution. Saum v. Widnall, 912 F. Supp. 1384, 1391 (D. Colo. 1996). And any calls for judicial deference

  to the military on questions of racial discrimination are “‘gravely wrong,’” both legally and historically.
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  Harvard, 600 U.S. at 207 n.3 (discussing the overruling of Korematsu v. United States, 323 U.S. 214 (1944)).

  As this Court has recognized, “it is beyond such cavil that civilian courts may review military matters

  when substantial constitutional rights are in jeopardy.” Widnall, 912 F. Supp. at 1391 (involving Fifth

  Amendment equal protection claim).

          3.      Because the Academy discriminates based on race, its admission policy should be de-

  clared unlawful and enjoined.

                                                  PARTIES
          4.      Plaintiff, Students for Fair Admissions, is a voluntary membership organization

  formed for the purpose of defending human rights and civil liberties, including the right of individuals

  to equal protection under the law, through litigation and other lawful means. SFFA is a nonprofit

  membership group of tens of thousands of individuals across the country who believe that racial pref-

  erences in college admissions, including at the academies, are unfair, unnecessary, and unconstitu-

  tional. SFFA has at least one member who is ready and able to apply to the United States Air Force

  Academy.

          5.      Defendant United States Air Force Academy is a military service academy created un-

  der federal law and operating under the command and supervision of the Department of the Air Force

  and Department of Defense. The Academy and its leadership are responsible for creating and execut-

  ing its admissions policies for prospective cadets, including the policy at issue here.

          6.      Defendant United States Department of Defense is an executive agency headquartered

  in Washington, D.C., and is responsible for all aspects of the military, including the policy at issue

  here.

          7.      Defendant Lloyd Austin is the Secretary of Defense and is responsible for all aspects

  of the military, including the policy at issue here. Secretary Austin is sued in his official capacity.




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          8.      Defendant Frank Kendall III is the Secretary of the Air Force and oversees all Air

  Force operations and policies, including the policy at issue here. Secretary Kendall is sued in his official

  capacity.

          9.      Defendant Lieutenant General Tony D. Bauernfeind is Superintendent of the United

  States Air Force Academy and responsible for the creation, implementation, and oversight of all Acad-

  emy policies, including the policy at issue here. General Bauernfeind is sued in his official capacity.

          10.     Defendant Colonel Candace Pipes is Director of Admissions at the United States Air

  Force Academy and responsible for the creation, implementation, and oversight of all Academy ad-

  missions policies, including the policy at issue here. Colonel Pipes is sued in her official capacity.

                                      JURISDICTION & VENUE
          11.     This Court has subject-matter jurisdiction over this case because it arises under the

  Constitution and laws of the United States. See 28 U.S.C. §1331.

          12.     Venue is proper because a substantial part of the events or omissions giving rise to the

  claims occurred here. See 28 U.S.C. §1391(b).

          13.     The Academy and Defense Department cannot invoke sovereign immunity. Federal

  courts routinely apply the APA’s waiver of sovereign immunity to constitutional claims. See, e.g., Maehr

  v. United States Dep’t of State, 5 F.4th 1100, 1106-07 (10th Cir. 2021) (Section 702 of the APA’s waiver

  of sovereign immunity “is not limited to suits under the Administrative Procedure Act” and is “there-

  fore applicable to a claim that [an agency] act[s] unconstitutionally”). The military and its service acad-

  emies meet the APA’s definition of “agency.” See, e.g., Doe v. Hagenbeck, 870 F.3d 36, 45 (2d Cir. 2017);

  Smith v. Dep’t of Def., No. 20-CV-00487-MDB, 2023 WL 2401061, at *4 (D. Colo. Mar. 7, 2023).

                                             BACKGROUND
  I.      The Academy’s Admissions Process
          14.     Appointment (i.e., “admission”) to the Air Force Academy is highly selective: only

  fifteen percent of applicants to the Class of 2026 received an offer to join the Long Blue Line.


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          15.     Federal law caps the Academy’s enrollment at 4,400 cadets. To account for attrition,

  the Academy reaches that number by matriculating roughly 1,200-1,300 cadets in each incoming class.

          A.      Application Process
          16.     Applying to the Academy involves several steps. Applicants initiate the application

  process by submitting a pre-candidate questionnaire, which asks them to self-report their race, sex,

  basic biographical information, high school GPA, standardized test scores, and athletic and extracur-

  ricular activities. Applicants can submit the pre-candidate questionnaire as early as March 1 of their

  junior year of high school.

          17.     An admissions officer screens the questionnaire to confirm that the candidate satisfies

  the statutory eligibility criteria—U.S. citizen, under 23 years old, and without dependents—and has

  the minimum academic credentials for admission. Ninety-eight percent of applicants to the Class of

  2026 made it past this first step. U.S. Air Force Academy, Demographic Profile of the Incoming USAFA

  Class of 2026, perma.cc/S6FK-DUG2.

          18.     Applicants who make it past this initial evaluation are officially designated as “candi-

  dates” for admission and receive access to the full application on the Academy’s website.

          19.     The application itself resembles a typical college application. It includes official school

  transcripts; official standardized test score reports; multiple short answer essay questions; and evalua-

  tions from the candidate’s 11th or 12th grade math and English teachers and their high school guid-

  ance counselor or a similarly situated school official.

          20.     When the Academy opens the full application to candidates, it also directs them to

  take a physical fitness test (the Candidate Fitness Assessment), undergo a medical evaluation by the

  Department of Defense Medical Examination Review Board (“DODMERB”), and conduct an inter-

  view with an admissions liaison officer in their area. If the candidate is a recruited athlete, the interview




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  is conducted by a coach. If the candidate is an enlisted servicemember, the interview is with a com-

  manding officer.

          21.     Candidates can complete the application, fitness test, medical evaluation, and interview

  in any order, as long as all are completed by January 31st of the year the candidate would enter the

  Academy.

          22.     While a candidate’s medical evaluation paperwork must be submitted by January 31st,

  he or she does not need to receive final medical clearance until later in the spring semester. And while

  a satisfactory medical evaluation from DODMERB is sufficient for medical approval, DODMERB

  clearance is not required for admission. Candidates who are not cleared by DODMERB can still re-

  ceive final medical clearance from the Academy through a medical waiver. When candidates are “com-

  petitive for an appointment to the Air Force Academy” and their applications are otherwise complete,

  the Academy “may process a medical waiver for USAFA on [their] behalf.” U.S. Air Force Academy,

  Instructions to Candidates, 13 (July 1, 2021), perma.cc/32NH-TBTD. The Academy—not DOD-

  MERB—is the final approval authority for waivers. See id. at 14 (“DODMERB IS NOT the waiver

  authority.” (emphasis original)).

          23.     The Academy evaluates candidates using a “holistic” admissions process, similar to

  those formerly used by Harvard and UNC.

          24.     The Admissions Office assigns each candidate a numerical score, known as a “Selec-

  tion Composite Score” or “SCS.” The SCS is a weighted composite of a candidate’s academic perfor-

  mance, leadership potential, and his physical fitness scores and other intangibles considered by the

  admissions office “selection panel” (e.g., personal essay, interview, and so forth.).

          25.     Sixty percent of a candidate’s SCS is based on his academic qualifications, which are

  calculated using their standardized test results and the candidate’s “prior academic record” in high

  school and/or college.



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          26.     A candidate’s test scores make up two-thirds of the academic-qualifications compo-

  nent of the SCS, or 40% of their SCS overall. A candidate’s “prior academic record,” or PAR, makes

  up the remaining third of the academic qualifications component, or 20% of their SCS overall.

          27.     A candidate’s PAR is a weighted and normalized recalculation of his grade point aver-

  age on a 4.0 scale, converted from his raw GPA, class rank, transcript, strength of high school, and

  rigor of curriculum.

          28.     Twenty percent of the SCS is based on a candidate’s “leadership potential” score,

  which is derived from a weighted combination of the candidate’s athletic activities, extracurricular

  activities, and resume.

          29.     The final 20% percent of the SCS comes from a candidate’s “Selection Panel” score,

  which is calculated using a combination of objective metrics (such as Candidate Fitness Scores) and

  subjective considerations (such as personal essays, letters of recommendation, and feedback from the

  Admissions Liaison Officers who interview the candidates).

          30.     The Admissions Office uses a candidate’s Selection Composite Score, as well as the

  individual scores for each of the three elements that comprise it, to as a starting point for determining

  whether she is considered “qualified” for admission. To be fully qualified for admission, candidates

  must also pass their medical examinations. Because the Academy’s process is “holistic,” however, SCS

  scores do not dictate whether a candidate is found “qualified” or ultimately admitted or rejected. In-

  deed, the Academy has no minimum standardized test scores, GPA, or class rank thresholds that

  candidates must clear to be eligible for an appointment.

          B.      Nomination Requirement
          31.     Candidates must secure a nomination to the Academy. Broadly speaking, there are two

  types of nominations: nominations from members of Congress or other “statutory nominating au-

  thorities,” and “service-connected nominations” reserved for children of certain service members and



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  for airmen who are currently serving on active duty or in the Air Force Reserve. Most nominations

  come from statutory nominating authorities.

          32.     Statutory Nominating Authorities. Under federal law, members of Congress, the Vice

  President of the United States, and the Academy’s Superintendent are entitled to nominate eligible

  U.S. citizens for appointment to the Academy.

          33.     Representatives and senators have statutory authority to nominate their constituents

  for admission to the Academy (“congressional nominations”).1 Each senator and congressman can

  have no more than five nominees attending the Academy at any given time. See §7442(a)(3)-(4). Most

  legislators stagger their vacancies to ensure that they have at least one open seat in the incoming class

  at the Academy each year.

          34.     Members can nominate up to fifteen of their constituents for consideration for each

  vacancy. §9442(a). Eighty-five percent of members choose not to rank their nominees in order of

  priority—they simply nominate up to ten candidates and let the Academy select the nominee it finds

  most qualified. This practice is known as the “competitive method.” Under the competitive method,

  the Academy ranks each candidate in a member of Congress’s slate of nominees in an “order of merit”

  determined by their SCS, and the nominee with the highest SCS receives the appointment.

          35.     Some members of Congress choose to identify a “principal” candidate and then name

  up to nine “alternates.” When a member identifies a principal candidate, the Academy must select that

  candidate if he or she is qualified. If the principal candidate is unqualified, then the Academy either

  (a) chooses the alternate nominee with the highest SCS, just as it would under the competitive method

  (the “principal-competitive alternate” method); or (b) offers the appointment to the highest-ranked



          1
           “Congressional nominations,” as used in this complaint, includes nominations from Con-
  gressional Delegates from American Samoa, the District of Columbia the Virgin Islands, Guam, and
  the Northern Marianas Islands, as well as nominations awarded by the Governor and Resident Com-
  missioner of Puerto Rico. See 10 U.S.C. §9442(a).

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  alternate nominee who is qualified, should the member choose to rank his alternate nominees in order

  of priority (the “principal-numbered alternate method”).

          36.     If a candidate has a congressional nomination but does not receive one of the appoint-

  ments for his slate of nominees, he or she can still be admitted as a “qualified alternate.” Two hundred

  qualified alternates are chosen each year, in order of merit based on their SCS. See 10 U.S.C.

  §9442(b)(5).

          37.     Congressional nominations, however awarded, account for approximately three-

  fourths of each incoming class.

          38.     Unlike members of Congress, who can nominate only their constituents, the Vice

  President can nominate any U.S. citizen for admission to the Academy. See 10 U.S.C. §9442(a)(2). The

  Vice President cannot have more than five nominees enrolled at the Academy at any one time. Id.

  Accordingly, vice-presidential nominees normally fill only one or two seats in each incoming class.

  Vice presidential nominees are also chosen in order of merit, based on their SCS ranking.

          39.     Finally, the Superintendent can “nominate” up to fifty candidates each year, at his sole

  discretion. Superintendent nominations are only “nominations” in the most technical sense: Because

  the Superintendent also has authority over admissions decisions, they function as direct appointments

  to the Academy. Like additional appointees, superintendent nominations are available if the Academy

  has filled each vacancy for statutory nominating authorities and appointed 200 Qualified Alternates.

  See 10 U.S.C. §9442(d).

          40.     Service-Connected Nominations. Several categories of applicants are eligible for ser-

  vice-connected nominations: (1) the children of active-duty servicemembers who have served contin-

  uously for eight years, reserve servicemembers who have served for the equivalent of eight active-duty

  years, veterans who are 100% disabled or otherwise eligible for retirement benefits, or servicemembers




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  who were killed in action; (2) enlisted airmen serving in an active duty or reserve capacity; and (3) ca-

  dets who are enrolled in ROTC or JROTC detachments. See 10 U.S.C. §9442(b).

           41.    The children of eligible servicemembers receive their nominations, known as “presi-

  dential nominations,” automatically. One hundred seats are reserved for presidential nominees in each

  incoming class. See 10 U.S.C. §9442(b)(1). Separately, sixty-five seats are set aside in each class for the

  children of servicemembers who were killed in action. See 10 U.S.C. §9442(a)(1).

           42.    Active-duty airmen and airmen in the Air Force Reserve can obtain nominations from

  the Secretary of the Air Force. There are eighty-five seats in each incoming class for Secretary of the

  Air Force nominees who are serving on active duty, and another eighty-five for Secretary of the Air

  Force nominees who are in the reserves. See 10 U.S.C. §9442(b)(2)-(3).

           43.    When the Academy is unable to fill its quotas for the 100 presidential nominees, 85

  active-duty airmen, and 85 reservists described above, it can fill those vacancies with qualified candi-

  dates from other parts of the applicant pool. See 10 U.S.C. §9442(e).

           44.    ROTC and JROTC cadets can also obtain nominations from the commanding officers

  of their respective detachments. ROTC and JROTC nominees can fill up to twenty seats in each

  incoming class. See 10 U.S.C. §9442(b)(4).

           45.    The Academy is not required to select candidates for each type of service-connected

  nomination in order of merit based on their SCS. It can consider race when making these appoint-

  ments.

           46.    Some applicants secure nominations from multiple sources. For example, the child of

  an eligible service member who is automatically entitled to a presidential nomination can also earn a

  nomination from her congressman. Applicants in those circumstances can compete for appointments

  in both categories. The Academy does not publicly report the number of applicants who apply under

  these circumstances each year.



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          C.      Additional Appointees
          47.     When the Academy has filled each nomination vacancy and appointed 200 qualified

  alternates, and still has not filled its class, it offers appointments to the remaining nominees. See 10

  U.S.C. §9443. These “additional appointees” can be chosen regardless of the comparative strength of

  their applications, as long as they meet the minimum requirements for being considered “qualified.”

  Under section 9443, 75% of additional appointees each year must have congressional or vice-presi-

  dential nominations. See id.

  II.     The Academy’s Use of Race
          48.      The Academy admits that it considers applicants’ race when choosing who to admit,

  and that it uses racial preferences “to shape the racial diversity of each incoming class.” Micaela Bur-

  row, Exclusive: Air Force Academy Privately Fretted the End of Race-Based Admissions Would Hamstring ‘Diver-

  sity’ Goals, Daily Caller News Found. (Dec. 27, 2023), perma.cc/W2Y6-GM65 (quoting email sent by

  then-Superintendent Lt. Gen. Richard Clark and obtained through FOIA request). The Academy also

  admits that one of the ways it achieves its racial-balancing goals is by making race a determinative

  factor “when two candidates are similar in qualifications.” Id.

          49.     The Academy’s racial preferences are consistent with—and derivative of—the DoD

  and Department of the Air Force’s broader fixation on the color of the young men and women who

  comprise the pool of future military officers.

          50.     On August 9, 2022, Secretary Kendall issued a memorandum setting forth “Depart-

  ment of the Air Force officer applicant pool goals, broken down by race, ethnicity, and gender.” Dep’t

  of Air Force, Officer Source of Commission Applicant Pool Goals, (Aug. 9, 2022), bit.ly/4fPtvPS.

          51.     The purpose of the directive was to “continue[] [the Air Force’s] goals toward achiev-

  ing a force more representative of our Nation, while leveraging diversity to enhance the Air and Space

  Force’s ability to deter, and if necessary, deny our Nation’s competitors.”




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            52.    The memorandum directed Air Force officer commissioning sources, including the

  Academy, to “develop a diversity and inclusion outreach plan aimed at achieving these goals no later

  than 30 September 2022.”

            53.    The racial goals were 67.5% white, 13% Black, 10% Asian, 7% multiracial, 1.5% Amer-

  ican Indian/Native American, and 1% Native Hawaiian and Pacific Islander. The goals also call for

  15% of officer candidates to be of Hispanic/Latino ethnicity, which the Academy categorizes sepa-

  rately.

            54.    At various part of its admissions process, the Academy can and does consider race a

  “plus factor” for candidates who are racial minorities.

            55.    To have race be considered a plus factor by the Academy, qualified and competitive

  applicants who are racial and ethnic minorities need only identify themselves as such on their applica-

  tions. They do not need to discuss race in an essay or say that race has influenced their experiences or

  views.

            56.    The Academy does not verify whether applicants are the race or ethnicity they identify

  on their applications. See, e.g., OMB, Statistical Policy Directive No. 15: Standards for Maintaining, Collecting,

  and Presenting Federal Data on Race and Ethnicity, (Mar. 28, 2024).

            57.    When it considers or tracks race in admissions, the Academy uses the following cate-

  gories: (1) Asian; (2) Native Hawaiian or Pacific Islander; (3) Hispanic; (4) White; (5) African-Ameri-

  can; and (6) Native American. These categories are the same categories that Harvard and UNC used

  in Harvard.

            58.    As mentioned above, candidates can obtain an appointment through one of four

  paths: (1) by obtaining a Letter of Assurance (“LOA”), which serves as a de facto form of early ad-

  mission in which candidates receive conditional offers of acceptance reflecting the Academy’s “inten[t]

  to offer [them] an appointment” once they complete their applications and obtain; (2) by having a



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  high enough Selection Composite Score to obtain an appointment from their congressional slate or

  service-connected nominee slate or by placing in the top 200 among the rest of the pool; (3) by re-

  ceiving a Superintendent Nomination; or (4) by receiving an appointment as an Additional Appointee.

             59.   The Academy is required by federal law to select candidates based on merit when

  making appointments from congressional slates and choosing qualified alternates, but no such obliga-

  tions exist for LOAs, service-connected slates, additional appointees, or superintendent nominations.

  When making appointment decisions for those categories, the Academy can and does consider candi-

  dates’ race.

             60.   Letters of Assurance. As a practical matter, an LOA is equivalent to an immediate and

  binding offer of admission if a candidate has no medical issues and scores the minimum on his or her

  physical-fitness test. The Academy stresses that a candidate who receives a LOA still must receive a

  nomination before he or she is fully accepted, but that is a mere formality because the Academy will

  help LOA recipients obtain congressional nominations or simply grant them Superintendent Nomi-

  nations.

             61.   The Academy reserves most, if not all, LOA offers for candidates it considers “excep-

  tional” in some way. The Academy has never specified how someone’s race makes them “excep-

  tional.”

             62.   Superintendent Nominations. Up to 50 applicants per year can be nominated—i.e.,

  admitted—directly by the Academy’s superintendent. There are no restrictions on the superinten-

  dent’s discretion, so he can and does consider race for Black, Asian American, and Hispanic/Latino

  candidates.

             63.   Additional Appointees. As described above, candidates who aren’t admitted under

  any other path can still be admitted as additional appointees. Several hundred candidates get in this




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  way each year. Unlike congressional appointments and qualified alternates, the Academy does not

  admit additional appointees by order of merit.

           64.    One of the key reasons why the Academy deviates from its merit list when making

  these appointments is so that it can treat race as a “plus factor” for Black, Asian American, and His-

  panic/Latino candidates.

           65.    Taken together, the Academy’s comprehensive racial preferences make race determi-

  native for hundreds of candidates each year. And because race is a “positive” factor for some candi-

  dates, it is necessarily a “negative” factor for others. Harvard, 600 U.S. at 218-19.

           66.    The Academy has no written guidance to admissions officers about how to use race.

  Its written guidance nowhere tells admissions officers not to use race when, for example, assessing a

  candidate’s qualifications or leadership potential.

           67.    The Academy’s race-based admissions policy does not have a sunset date—a prede-

  termined date that, without further action, would end the Academy’s use of race as a factor in admis-

  sions.

           68.    The Academy does not have a day, month, or even year when it expects that it can end

  its use of race as a factor in admissions.

           69.    The Academy has no firmer logical or durational limit on its use of race in admissions

  than the ones articulated by Harvard and UNC in Harvard.

           70.    The Academy has never publicly stated what the racial composition of its admitted or

  enrolled classes would be if it no longer used race as a factor in admissions.

           71.    The Academy has never published, in the last decade, a study of race-neutral alterna-

  tives, where it calculates the racial composition of its admitted or enrolled class under different sce-

  narios where race is no longer a factor but other factors are changed.

  III.     The Academy’s Flawed Justifications for Its Race-Based Admissions Practices



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          72.      Before the Supreme Court’s decision in Harvard, the Academy invoked the “educa-

  tional benefits of diversity,” like Harvard and UNC did, as a justification for its race-based admissions.

  Specifically, the Academy submitted that the racial “diversity” achieved through race-based admissions

  “reduc[ed] a sense of isolation and alienation” among ethnic minorities in the cadet wing and “en-

  courage[d] greater participation by minority students in the classroom.” Students for Fair Admissions v.

  President and Fellows of Harvard Coll., No. 21-707, Tr. 145:1-146:11, (Oct. 31, 2022). Now that the Su-

  preme Court has refused to allow colleges to justify their actions by reference to those “educational

  benefits,” the Academy cannot rely on that asserted interest to justify the constitutionality of its race-

  based admissions.

          73.     The Academy claims that its use of race in admissions is a national-security issue. The

  Air Force asserts that, to achieve its national-security interests, the racial makeup of the officer corps

  must mirror that of the enlisted corps and the general population. So the Academy must use race in

  admissions to change the racial composition of the Air Force’s officer corps.

          74.     As to how balancing the racial makeup of the cadet wing, and, in turn, marginally

  increasing the racial balance of the officer corps, is critical to fulfilling the Air Force’s mission, the

  Academy offers a scattershot of reasons devoid of evidentiary support and naked appeals to deference.

          75.     The Academy claims that racial preferences further compelling national-security inter-

  ests because a racially balanced force is necessary for (1) unit cohesion and battlefield lethality; (2)

  recruiting top-tier talent to serve in the Air Force; (3) retaining that talent; and (4) preserving the Air

  Force’s public legitimacy both here and abroad.

          76.     None of these purported interests are meaningfully furthered by the Academy’s race-

  based admissions policies. The Academy’s ongoing racial discrimination can have dream-shattering

  consequences for the individual applicants who are unfairly denied admission, but it barely moves the

  needle in terms of the overall demographics of the officer corps.



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          77.     The Academy produces roughly one-fifth of new Air Force officers each year. And

  the number of minority officers it produces because of racial preferences are a fraction of that number.

          78.     Each of the Academy’s justifications view airmen as members of racial groups, rather

  than solely as individuals, and are grounded in assumptions about how minority service members think

  and feel.

          A.      Unit Cohesion and Lethality
          79.     The Academy argues that statistical parity between the racial demographics of officers

  and enlisted airmen is necessary to preserve unit cohesion and ward off racial strife within units. In

  support of that assertion, it highlights anecdotal incidents of racial tension among enlisted service-

  members during the Vietnam War, most of which occurred in a brief period from 1969 to 1972. That

  talking point, raised for the first time by a group of amici in Grutter and repeated in virtually every

  government defense of racial preferences since, cherry-picks a few unfortunate incidents and extrap-

  olates them to the American military in general. At best, it is a textbook example of conflating corre-

  lation with causation.

          80.     In fact, racial violence and unrest had been negligible within the U.S. armed forces

  stationed in Vietnam prior to 1967, and it has been virtually nonexistent post-Vietnam. During the

  Korean War—just a few years after President Truman ordered desegregation in the military—practical

  measures outweighed racial beliefs, and integration failed to produce the violence or poor morale the

  military brass expected. The military brass of that era were pro-segregation, and their predictions of

  violence and poor morale did not bear out.

          81.     The brief period of racial unrest that the Academy retells was not produced by color-

  blind policies. It was a tragic byproduct of broader factors: a changing social environment, a contro-

  versial war, and new conscription strategies that allowed wealthier Americans to escape the draft

  through college deferments while sending disproportionate numbers of low-income draftees to



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  frontline combat units based on their educational backgrounds. In short, the incidents that the Acad-

  emy cites to justify open-ended racial preferences were the product of a perfect storm for racial con-

  flict that has not existed for the past half century.

          82.        Moreover, the underlying assumption of the Academy’s argument is that airmen view

  their peers and superiors foremost in terms of race, rather than in terms of their ability or character

  traits like loyalty, devotion, and selflessness. Put differently, it assumes that airmen apply the same

  racial stereotypes to one another that the Academy applies to them. There is no evidence to suggest

  that’s the case.

          83.        The Academy makes a related argument that statistical parity between the racial de-

  mographics of the officer corps and those of the enlisted corps is necessary to foster trust between

  the enlisted corps and its leaders. The Academy has never provided evidence to support that assertion,

  and indeed, all available evidence says otherwise. This argument relies on crude and infantilizing ste-

  reotypes about the men and women who volunteer to serve in our armed forces, and it defies common

  sense. It assumes that black airmen will be more likely to trust a black officer or a chain of command

  that includes black officers, that Hispanic airmen are more likely to trust Hispanic officers, and so

  forth—because of their skin color, not their trustworthiness. And it brushes aside reams of evidence

  that trust between airmen is formed through battlefield performance, and that servicemembers in war

  zones are more concerned with their leaders’ competency than with their skin color.

          84.        The Academy broadly claims that the diversity produced by racial preferences facili-

  tates military success and makes Air Force units more effective at accomplishing their missions. It

  claims, without any relevant evidence, that units are more adaptive, more efficient, and better at critical

  thinking and complex problem-solving when they are “racially diverse” (or, more accurately for pur-

  poses of the Academy’s admissions policy, “racially balanced”). Neither the Academy nor the Air

  Force has commissioned any studies purporting to show this to be the case in the military context.



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  Nor can the Academy bridge its evidentiary gap through appeals to social-science papers measuring

  outcomes in inapplicable settings or inapposite career fields like stock trading or computer program-

  ming.

          85.     Empirical evidence suggests the opposite. For example, the U.S. military’s most elite

  special forces units are among its least racially balanced. Some races, like Native Americans, are vastly

  overrepresented, while others are underrepresented to nearly the same degree. Yet no one seriously

  contends that the green berets, Navy SEALs, or Air Force pararescuemen are insufficiently lethal.

          B.      Recruitment
          86.     The Academy’s assertion that racial balancing is imperative for recruiting talented ser-

  vicemembers is even less persuasive. According to the Academy, most promising recruits will hesitate

  to serve in an Air Force that is not “representative” of the population it protects. It also claims that

  this alleged inability to compete for “top talent” will have negative downstream effects on military

  readiness.

          87.     Once again, the Academy provides little to no evidence to back this claim. The Acad-

  emy does not elaborate on what it means for the officer corps to be sufficiently “representative” or

  “diverse.” Nor does it explain how courts can measure whether its racial preferences are causing it to

  recruit the top talent in the country.

          88.     The Academy simply declares that the Air Force will lose “societal trust” if racial met-

  rics between the officer and enlisted corps (and between the officer corps and society at large) are not

  equivalent. The Academy further argues that this speculative loss of societal trust could, in turn, harm

  recruiting efforts.

          89.     But today, despite the Academy’s racial preferences, the Air Force is grappling with

  several years of recruiting shortfalls that have been unprecedented in the modern, all-volunteer era.

  The crisis reduced the Air Force’s total manpower this year by 8,000 troops, and the service only met



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  its scaled-down recruiting goals for fiscal year 2024 by lowering physical fitness standards and accept-

  ing male recruits with up to 26% body fat.

          90.     Tellingly, not even the Academy’s leadership seems to buy what its admissions process

  is selling on race. During a July 19, 2023, hearing before the House Armed Services Committee, Sub-

  committee on Military Personnel, then-Superintendent Clark conceded that he had never heard of any

  instance where someone was interested in joining the Air Force but was turned off by its purported

  lack in diversity. Nor could he or any of the other service academy superintendents think of anyone

  who had.

          C.      Retention
          91.     The Academy’s arguments regarding retention are merely inverted versions of its un-

  persuasive arguments about recruiting. The Academy claims that a dearth of racial diversity will lead

  to waves of attrition, but it never specifies why it believes that to be true. At most, this position is

  based on a smattering of organizational surveys about “diversity climates.”

          92.     The Government Accountability Office has declared these surveys unreliable due to

  defects in design and administration. See Gov’t Accountability Off., Military Service Academies: Actions

  Needed to Better Assess Organizational Climate, GAO-22-105130, at 1 (July 2022).

          93.     And no studies conducted by the Academy or the Department of Defense more

  broadly have asked cadets whether the Academy should continue to use race as a factor in admissions.

          94.     If anything, the Academy’s assertions about retention are backwards. In-depth surveys

  and statistical assessments of the military’s personnel crisis—i.e., the rigorous analyses that the Acad-

  emy has never publicly offered—show that the military’s emphasis on non-merit factors, including

  servicemembers’ immutable characteristics, is a leading cause of junior officer attrition. According to

  9 out of 10 respondents, more officers would stay if the military was more of a meritocracy. And 71%




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  of active-duty officers believe the military would retain more talent if opportunities were based solely

  on merit.

          D.       Domestic and International Legitimacy
          95.      The Academy’s last resort is to claim that the military will suffer a crisis of legitimacy

  among the American people and foreign allies if it is insufficiently balanced by race. It maintains that

  an officer corps that does not reflect the racial makeup of the general population and the enlisted

  ranks will undermine the military’s legitimacy by fueling perceptions of racial minorities serving as

  “cannon fodder” for white military leaders.

          96.      Again, this conclusory statement assumes that the American people assess the “legiti-

  macy” and trustworthiness of an institution based on its racial makeup. That notion is both un-Amer-

  ican and devoid of any evidentiary support.

          97.      To the contrary, a significantly higher percentage of Americans expressed confidence

  in the U.S. military three decades ago than they do today. And half of Americans now think that

  military leaders’ over-emphasis on social-justice issues and political correctness is undermining military

  effectiveness.

          98.      70% of Americans agree that universities should be “not allowed” to “consider race

  in admissions.” Anthony Salvanto, CBS News Poll Finds Most Americans Say Colleges Shouldn’t Factor Race

  Into Admissions, CBSNews.Com, (June 21, 2023), perma.cc/PW5D-ZUAT.

          99.      Thus, to the extent that the Academy’s mission is to solidify the public’s trust, its race-

  based admissions policy shoots itself in the foot.

  IV.     SFFA v. Harvard
          100.     The Supreme Court held in Harvard that racial preferences in college admissions vio-

  late the Equal Protection Clause of the Fourteenth Amendment.

          101.     Harvard and UNC both admitted to using race in admissions, but both institutions

  strenuously insisted that they did so in a “holistic” manner that treated race only as an optional “tip.”


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  Both institutions defended their consideration of race as necessary to further a compelling interest in

  “the educational benefits of diversity.”

          102.      The Court held both policies unconstitutional for several reasons.

          103.      The Court deemed the universities’ reasons for using race impermissibly vague and

  unmeasurable. Harvard claimed that its consideration of race was crucial for “(1) training future leaders

  in the public and private sectors; (2) preparing graduates to ‘adapt to an increasingly pluralistic society’;

  (3) ‘better educating its students through diversity’; and (4) ‘producing new knowledge stemming from

  diverse outlooks.’” Harvard, 600 U.S. at 214. UNC made similar arguments but added a fifth justifica-

  tion: “enhancing appreciation, respect, and empathy, cross-racial understanding, and breaking down

  stereotypes.” Id.

          104.      The Court held that those goals could not justify race-based admissions because they

  could not “be subject to meaningful review” and were thus “[in]sufficiently coherent for purposes of

  strict scrutiny.” Id. Federal courts had no way of measuring the Universities’ self-assessed progress

  toward achieving those goals. Id. Moreover, “[e]ven if [those] goals could somehow be measured,”

  there was no way for courts “to know when they have been reached, and when the perilous remedy

  of racial preferences may cease.” Id.

          105.      The universities also “measure[d] the racial composition of their classes using the fol-

  lowing categories,” which come from the federal government: “(1) Asian; (2) Native Hawaiian or

  Pacific Islander; (3) Hispanic; (4) White; (5) African-American; and (6) Native American.” Id. at 2167.

  But those categories are “imprecise,” “arbitrary,” “undefined,” “opaque,” and both over- and “under-

  inclusive.” Id.

          106.      “The Universities’ main response to these criticisms [was], essentially, ‘trust us.’” Id. at

  2168. Accepting that proposition, however, would have meant forgoing any meaningful judicial




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  review. And although the Court recognized that some “degree of deference” applies to universities’

  educational decisions, “deference does not imply abandonment or abdication of judicial review.” Id.

          107.    Both universities strenuously protested that, while they used race as a “positive” for

  certain applicants, “an individual’s race is never a negative factor in admissions.” Id. The Court found

  that argument “hard to take seriously.” Id. Because “[c]ollege admissions are zero-sum,” a “benefit

  provided to some applicants but not to others necessarily advantages the former group at the expense

  of the latter.” Id. Thus, by using race as a “positive” for some applicants, Harvard and UNC necessarily

  used it as a negative attribute for others.

          108.    Both universities assumed that increasing the percentage of racial minorities on cam-

  pus would necessarily increase other students’ exposure to different ideas and perspectives. In blunter

  terms, their policies assumed that all racial minorities had certain views and life experiences solely

  because of the color of their skin. But “[o]ne of the principal reasons race is treated as a forbidden

  classification is that it demeans the dignity and worth of a person to be judged by ancestry instead of

  by his or her own merits and essential qualities.” Id. at 220.

          109.    Neither Harvard’s nor UNC’s use of race had a logical end point. See id. at 221-25.

  Neither institution could identify when they would stop using race or under what circumstances.

          110.    For example, UNC defined its racial “diversity” goals in relation to the racial de-

  mographics of the general population. See id. at 223 (“The University frames the challenge it faces as

  ‘the admission and enrollment of underrepresented minorities,’ a metric that turns solely on whether

  a group’s ‘percentage enrollment within the undergraduate student body is lower than their percentage

  within the general population in North Carolina.’” (cleaned up)). As the Academy does, UNC claimed

  that it “ha[d] not yet fully achieved its diversity-related educational goals” because it still needed to

  “obtain closer to proportional representation.” Id.




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          111.    The Court rejected that metric. It reiterated that “‘outright racial balancing’ is ‘patently

  unconstitutional,’” because “at the heart of the Constitution’s guarantee of equal protection lies the

  simple command that the Government must treat citizens as individuals, not as simply components

  of a racial, religious, sexual or national class.” Id. (cleaned up). UNC’s use of race to obtain “propor-

  tional representation” in incoming classes was further unconstitutional, the Court held, because it

  “‘effectively assur[ed] that race will always be relevant and that the ultimate goal of eliminating’ race

  as a criterion ‘will never be achieved.’” Id. at 223-24 (cleaned up).

          112.    In sum, the Court held that both universities failed strict scrutiny and that their use of

  race was therefore unconstitutional because their “programs lack sufficiently focused and measurable

  objectives warranting the use of race, unavoidably employ race in a negative manner, involve racial

  stereotyping, and lack meaningful end points.” Id. at 230.

          113.    In a footnote to the opinion, the Court declined to analyze the use of race by the

  military academies because “none of the courts below addressed the propriety of race-based admis-

  sions systems in that context.” Id. at 213 n.4. But Harvard’s reasoning makes it perfectly clear that the

  Academy’s use of race in the admissions process is unconstitutional. Compare United States v. Windsor,

  570 U.S. 744, 778 (2013) (Roberts, C.J., dissenting) (noting that the majority opinion, which declared

  unconstitutional a federal definition of marriage, left open the constitutionality of “state marriage def-

  initions”), with Obergefell v. Hodges, 576 U.S. 644, 662-63 (2015) (explaining that virtually every court of

  appeals concluded that the logic of Windsor also deemed the state definitions unconstitutional).

          114.    The Academy has not changed its race-based admissions in light of Harvard and has

  instead doubled down on categorizing individuals by their race and ethnicity.

  V.      Plaintiff and This Litigation
          115.    SFFA has at least one member who is ready and able to apply to the United States Air

  Force Academy, including Member A.



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          116.    Member A is white, a U.S. citizen, and currently enrolled in high school. Member A

  has a near-perfect GPA despite studying an advanced curriculum and maintaining an active extracur-

  ricular schedule.

          117.    Member A is a high school athlete and in excellent physical condition. Member A

  receives annual physicals and has no medical condition that would prevent Member A from being

  medically qualified to attend a military academy.

          118.    Member A wants to attend the Academy and is ready and able to apply to the Academy

  for the Class of 2030. Member A will take all necessary steps to apply, qualify, and obtain a nomination.

          119.    Member A joined Students for Fair Admissions because Member A supports its mis-

  sion and this lawsuit.

          120.    If the Academy is allowed to continue making admissions decisions based on appli-

  cants’ race, SFFA’s members—including Member A and other similarly-situated applicants—will suf-

  fer harm because they will be denied the opportunity to compete for an Air Force appointment on

  equal grounds, solely because of their race.

                                           CLAIM FOR RELIEF
                                                 COUNT
                                    Violation of the Fifth Amendment
          121.    Plaintiff incorporates and restates all its prior allegations here.

          122.    “It is undisputed that ‘service academies are subject to the Fifth Amendment.’” Lebrun

  v. England, 212 F. Supp. 2d 5, 16 (D.D.C. 2002); see also Crawford v. Cushman, 531 F.2d 1114, 1120 (2d

  Cir. 1976) (“A succession of cases in this circuit and others ha[s] reiterated the proposition that the

  military is subject to the Bill of Rights and its constitutional implications.”); Frontiero v. Richardson, 411

  U.S. 677, 688 (1973) (similar).

          123.    The Fifth Amendment contains an equal-protection principle that binds the federal

  government and is no less strict than the Equal Protection Clause that binds the States. Adarand



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  Constructors, Inc. v. Pena, 515 U.S. 200, 224 (1995). “[A]ny person, of whatever race, has the right to

  demand that any governmental actor subject to the Constitution justify any racial classification sub-

  jecting that person to unequal treatment under the strictest judicial scrutiny.” Id. That principle stems

  not only from the Fifth Amendment, but also from the Fourteenth Amendment’s guarantee of equal

  citizenship, the Constitution’s limits on the scope of federal power, and bedrock principles of equality

  laid out in the Declaration of Independence.

          124.     Because the Academy’s admissions policy relies on racial classifications, it must satisfy

  strict scrutiny. Id. In other words, it must employ measures that are “narrowly tailored” to “further

  compelling governmental interests.” Harvard, 600 U.S. at 206-07. The Academy’s overt racial prefer-

  ences cannot clear this bar.

          125.     The Supreme Court has recognized compelling interests in the use of race in only the

  narrowest of circumstances, where those preferences are explicitly designed to remedy recent acts of

  discrimination and to make the individual subjects of that discrimination whole. See id. at 207. The Acad-

  emy’s admissions policy does not meet this standard, and the Academy makes no pretenses that it

  does.

          126.     The Academy asserts compelling interests in facilitating unit cohesion, achieving the

  increased lethality that supposedly flows from racially representative units on the battlefield, prevent-

  ing declines in recruiting and retention, and ensuring public “legitimacy” (circularly defined by the

  Academy). It does not argue that the educational benefits of diversity are a compelling interest that

  could justify its use of race.

          127.     None of the Academy’s purportedly compelling interests can “be subjected to mean-

  ingful judicial review.” Harvard, 600 U.S. at 214. There is no way for “courts … to measure these

  goals,” and even if they could be measured, courts have no basis for assessing “when they have been

  reached.” Id.



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          128.    The Academy’s appeal to the military benefits of diversity is no different from Harvard

  and UNC’s appeal to the “educational benefits of diversity.” In both instances, the purported benefits

  are vague and “elusive.” Id. In fact, the only quantifiable aspects of the Academy’s race-based admis-

  sions program are the racial and ethnic enrollment percentage goals set by the Academy each year.

          129.    Moreover, “the question in this context is not one of no diversity or of some: it is a

  question of degree. How many fewer leaders [the Academy] would create without racial preferences,

  or how much poorer the education at [the Academy] would be, are inquiries no court could resolve.”

  Id. at 215.

          130.    The Academy’s admissions program also fails narrow tailoring because it “fail[s] to

  articulate a meaningful connection between the means [it] employ[s] and the goals [it] pursue[s].” Id.

  The Academy claims that racial preferences are necessary to ensure “an officer corps that reflects the

  demographics of the nation it serves.” To that end, it carefully tracks and “shape[s]” the class compo-

  sition of “African Americans,” “Hispanics,” and “Asians.” That interest is not compelling; it is pure

  racial balancing.

          131.    Besides, these categories are “imprecise in many ways.” Id. at 216. “Some of them are

  plainly overbroad: by grouping together all Asian students, for instance, [the Academy is] apparently

  uninterested in whether South Asian or East Asian students are adequately represented, so long as there

  is enough of one to compensate for a lack of the other.” Id. (emphasis original). “Meanwhile, other

  racial categories, such as ‘Hispanic,’ are arbitrary or undefined.” Id.

          132.    Furthermore, the Academy produces only seventeen percent of newly commissioned

  Air Force officers each year. Even if the Air Force and, by extension, the Academy had a compelling

  interest in ensuring perfectly proportional racial representation between the cadet wing and the officer

  corps, the Academy’s use of the “invidious” practice of racial preferences barely moves the needle in

  terms of the demographics of the Air Force-wide officer corps. Id. at 214.



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             133.   Nor has the government offered facts or evidence-based reasoning to support its ex-

  cuses for using race at the academies. The government asserts that the “service academies have care-

  fully considered potential race-neutral alternatives” and “have concluded that, at present, those alter-

  natives would not achieve the military’s compelling interest in fostering a diverse officer corps.” But

  it has never identified any studies, reports, or experiments “carefully considering” race-neutral alter-

  natives.

             134.   Contra the Academy, military academies can achieve racially diverse student bodies

  through race-neutral means. The Coast Guard Academy provides a real-world example. Until 2010,

  that academy was prohibited by federal statute from using racial preferences in its admissions process.

  In the two years before the Academy began considering race, it launched an aggressive advertising and

  recruiting campaign targeting minorities. At the end of those two years, the academy had increased

  minority enrollment by 60%—from 15% to 24%. Those numbers were within a few percentage points

  of the other academies, which had been using explicit racial preferences for years.

             135.   The Academy’s race-based admissions violate the Fifth Amendment because “race

  may never be used as a ‘negative’” or “operate as a stereotype.” Id. at 219 (cleaned up). As discussed

  above, the Academy openly acknowledges that race is determinative for some applicants. Because the

  Academy provides a racial “benefit” to “some applicants but not to others,” it “necessarily advantages

  the former group at the expense of the latter.” Id. Because race is a “positive” for minority applicants

  who receive preferences, it is necessarily a “negative” for all others. Id.

             136.   The Academy’s admissions program also relies on impermissible stereotypes. The Su-

  preme Court has “long held that universities may not operate their admissions programs on the ‘belief

  that minority students always (or even consistently) express some characteristic minority viewpoint on

  any issue,’” and that they may not “assum[e] that ‘members of the same racial group—regardless of

  their age, education, economic status, or the community in which they live—think alike.’” Id. at 219-



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  20 (cleaned up). The Academy does exactly that when it uses racial preferences to “foster trust between

  the enlisted corps and its leaders,” create “sociocultural competencies essential to multicultural lead-

  ership in the 21st century,” and “ensur[e] that the military contains the cultural and racial identities

  necessary to better understand our partner forces.”

          137.     The Academy is violating equal protection by engaging in the “patently unconstitu-

  tional” practice of “[o]utright racial balancing.” Id. at 223. The Air Force sets specific racial goals for

  future officer candidates, including Academy cadets, and “shape[s] the racial diversity of each incom-

  ing class” accordingly. Burrow, supra at ¶52. It is not “‘treat[ing] citizens as individuals,’” but as

  “‘simpl[e] components of a racial … class.’” Harvard, 600 U.S. at 223 (cleaned up).

          138.     The Academy’s use of race in admissions is also unconstitutional because it “lack[s] a

  ‘logical end point.’” Id. at 221 (cleaned up). Indeed, under its theory of “racial diversity,” it would be

  impossible for the Academy to stop considering race. By tying its racial enrollment needs to the ever-

  shifting demographics of the country and the enlisted ranks, the Academy is promising to use race in

  perpetuity. Cf. id. at 221-25.

          139.     The Academy’s status as a military academy does not mean that courts must defer to

  its conclusory assertions that it needs to employ racial preferences, let alone diminish any of the con-

  stitutional violations described above. See Owens v. Brown, 455 F. Supp. 291, 300 (D.D.C. 1978) (courts

  are not compelled “to abdicate their responsibility to decide cases and controversies merely because

  they arise in the military context”). Although courts have been mindful of the military’s unique role in

  society and the unique considerations that come with it, no level of deference justifies systematic racial

  discrimination. See Harvard, 600 U.S. at 217 (“any deference must exist ‘within constitutionally pre-

  scribed limits’”).

          140.     In fact, as the Court recognized in Harvard, blind deference to assertions of national

  security or military necessity can lead to “gravely wrong” outcomes and gross violations of civil rights.



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  Id. at 207 n.3. “[I]n the infamous case Korematsu,” the “Court upheld the internment of ‘all persons of

  Japanese ancestry in prescribed West Coast ... areas’ during World War II because ‘the military urgency

  of the situation demanded’ it.” Id. (cleaned up). The Supreme Court has “since overruled Korematsu,

  recognizing that it was ‘gravely wrong the day it was decided.’” Id. (cleaned up).

          141.    “The Court’s decision in Korematsu nevertheless ‘demonstrates vividly that even the

  most rigid scrutiny can sometimes fail to detect an illegitimate racial classification’ and that ‘[a]ny

  retreat from the most searching judicial inquiry can only increase the risk of another such error occur-

  ring in the future.’” Id. (cleaned up).

          142.    Because the Academy’s use of racial classifications in admissions violates the Fifth

  Amendment, it should be declared unlawful and enjoined.

          WHEREFORE, Plaintiff asks this Court to enter judgment in its favor and to provide the

  following relief:

          a. A declaratory judgment that the Academy’s use of race in admissions is unconstitutional;

          b. A permanent injunction prohibiting the Academy from considering or knowing applicants’
             race when making admissions decisions; and

          c. All other relief that Plaintiff is entitled to, including, but not limited to, attorneys’ fees and
             costs.




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                                        Respectfully submitted,

                                         s/Thomas R. McCarthy

                                        Thomas R. McCarthy
                                        J. Michael Connolly
                                        Cameron T. Norris
                                        James F. Hasson
                                        CONSOVOY MCCARTHY PLLC
                                        1600 Wilson Boulevard, Suite 700
                                        Arlington, VA 22209
                                        (703) 243-9423
                                        tom@consovoymccarthy.com

  Dated: December 10, 2024              Counsel for Students for Fair Admissions




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